Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 1 of 28 PageID 1068



                           UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

 UNITED STATES OF AMERICA,

               Plaintiff,

        v.
                                                          Case No.: 6:17-cr-187-ORL-37TBS
 STEPHANIE LUNDE,

               Defendant.


        DEFENDANT STEPHANIE LUNDE’S MOTION TO DISMISS BASED ON
            GOVERNMENT MISCONDUCT BEFORE THE GRAND JURY

        The Defendant, STEPHANIE LUNDE, respectfully submits this Motion to Dismiss the

 Indictment based on Government misconduct before the Grand Jury.

        On October 4, 2017, pursuant to Federal Rule of Criminal Procedure 6(e)(3)(E)(ii),

 Ms. Lunde filed a Motion to Compel Production of a Transcript of Grand Jury Proceedings

 seeking the production of all testimony relating to the charges against Ms. Lunde and all

 instructions or responses to questions by the Prosecutor. See Doc. 146.     In response, the

 Government baldly asserted “[t]here was no inappropriate argument to the grand jury or the

 suggestion for unreasonable inferences to be drawn in response to any question from the grand

 jurors.” Doc. 166 at 4. The Court subsequently ordered the Government to transcribe all the

 Grand Jury proceedings, review those transcripts “to determine whether [the Government]

 should provide any other portion of testimony,” and file a certification of compliance by

 November 3, 2017. See Doc. 170.
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 2 of 28 PageID 1069



        On November 3, 2017, in response to the Court’s order, the Government produced an

 additional three pages of Grand Jury transcript, which contradicted the Government’s prior claim

 to the Court.1 See Doc. 182.

        Based on the Grand Jury transcripts produced to date (including the recently produced

 portion of the transcript), the transcript reflects a pattern of serious misconduct before the Grand

 Jury including: (i) false and misleading testimony to the Grand Jury, (ii) improper testimony by

 the Prosecutor without evidence, and (iii) improper legal instructions to the Grand Jury.      The

 Government’s pattern of substantial misconduct is so pervasive throughout the Grand Jury

 proceeding and present in responses to key Grand Juror’s questions regarding the basis for a

 criminal charge against Ms. Lunde, so as to amount to an improper intrusion into the

 independent role of the Grand Jury and actual prejudice to Ms. Lunde’s constitutional rights to a

 Grand Jury and Due Process. Accordingly, the Indictment against Lunde must be dismissed.

                                              FACTS

        The Government has charged Lunde with conspiracy to commit bank fraud and multiple

 counts of bank fraud. See Indict. (Doc. 12). In general, these charges are related to Lunde’s

 work as an employee of related entities, the Marshall Group (“Marshall”) and BankFirst. Id. at ¶

 2. BankFirst was involved with servicing the loan at issue (the “Grande Palisades Loan”). See

 id. at ¶¶ 8, 17. The Grande Palisades Loan was a $228 million commercial loan to a real estate

 developer, Lake Austin Properties I, Ltd. (“Lake Austin”), for a massive condominium project in

 Florida from 2006-2009.        See id. at ¶¶ 6–9.    The Grande Palisades Loan was funded by

 approximately 68 different participant banks (the “Participants”). Id. at ¶ 8. The Government’s


 1
    Lunde still seeks to compel the production of any undisclosed Grand Jury testimony or
 instructions. Pursuant to the Court’s Order, Lunde is filing a separate response to the
 Government’s certification.
                                                  2
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 3 of 28 PageID 1070



 bank fraud charges against Lunde center on the idea that she intentionally hid information from

 the Participants about the developer, Lake Austin. See id. at ¶¶ 34–42, 46(u)–(bb).

 1.        The Government Misled The Grand Jury Regarding Lunde’s Purported Financial
           Benefit.

           During the course of the Government’s presentation, the Government elicited testimony

 regarding the co-Defendants’ purported financial gains from the alleged scheme. See Ex. 1 at

 35–36, 51–52.2       In an attempt to establish the fraudulent intent of a bank employee, co-

 Defendant Eric Johnson, the Prosecutor asked Agent Bolte about Johnson’s financial incentive

 from the Grand Palisades Loan closing proceeds:

           PROSECUTOR:           And about 400,000 of that then flowed to Eric Johnson as
           the loan underwriter?

           THE WITNESS [Agent Bolte]:           Correct.

 Id. at 36.

           Later, a Grand Juror returned to this testimony and asked about Ms. Lunde:

           GRAND JUROR:          I have a quick question.

           PROSECUTOR:           Yes.

           GRAND JUROR: Going back. So you said Eric Johnson knew about the
           commission payments right away he got $400,000 at the closing. What did – you
           haven’t – and I think Lunde is his boss. What was her financial gain at the
           closing or what did she have to gain?

           THE WITNESS:            She was more in credit administration. She wasn’t
           necessarily his boss at the time. He was Ms. Boerenko’s supervisor.

           GRAND JUROR:          Okay.

           THE WITNESS:        And then at a later date Mrs. Lunde supervised Mrs.
           Boerenko because Mr. Johnson left.

           GRAND JUROR:          But she didn’t receive any direct commission payment or
           bonus –

 2
     The page numbers appear in the upper right hand corner of the transcript.
                                                   3
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 4 of 28 PageID 1071



        THE WITNESS:           Not near to the scale of what Mr. Johnson did.

        GRAND JUROR:           Based on the scale. Thank you.

        THE WITNESS:        I believe she had some type of bonus structure but nothing
        like Mr. Johnson’s because she was at that time, I believe, in a different
        department.

 Id. at 51 (emphasis added).      These statements were misleading and deceptive because the

 Government’s evidence does not reflect that Lunde received any direct benefit from the closing

 of the Grand Palisade Loan.

          In response to Lunde’s Motion to Compel, the Government purported to provide the

 basis for the testimony described above.       See Doc. 166 at 2–4, 9–10.      Specifically, the

 Government pointed to emails and a spreadsheet that indicated that Lunde received a salary,

 benefits, and a year-end bonus of $26,000, which was paid to her in January/February 2007. The

 Government also argued that evidence shows that Lunde received commissions for 2006.

        The Grande Palisades Loan did not close until April 27, 2007. See Indict. at ¶ 46(v).

 Any bonus or commission Lunde received for 2006 does not factually relate to the Grande

 Palisade Loan closing. In short, the Government simply cannot contend that the 2006 bonus and

 commission evidence supports testimony suggesting that Lunde had a financial incentive to close

 the April 2007 Grand Palisades Loan.         The Government now acknowledges that “[t]hese

 documents did not connect the defendant’s bonus and/or commission to the Lake Austin real

 estate development . . . .” Doc. 166 at 4.

        Nevertheless, the Government still claims it did not intentionally mislead the Grand Jury

 because “the agent noted that any such compensation for the defendant [Lunde] was less than

 what codefendant Johnson received.” Doc. 166 at 9–10. This argument now ratifies the Agent’s

 Grand Jury testimony. At a minimum, the testimony contains a material omission, namely that

 the “something less” Lunde received as a result of closing the Grand Palisades Loan was $0. For
                                                 4
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 5 of 28 PageID 1072



 the same reason the Prosecutor elicited testimony about the direct financial gain Johnson

 received, the Grand Jury sought to understand what Lunde gained as a result of the Grande

 Palisades Loan. Lunde in fact received no gain, but Agent Bolte plainly implied that she did—

 with no evidence to support his claim.

 2.     The Government Misrepresented that Lunde Admitted to Hiding the “Recall” of the
        2005 Financial Statements from the Participants.

        In further support of the Government’s case against Lunde, Agent Bolte testified to the

 Grand Jury that Lunde hid the recall of Lake Austin’s 2005 financial statements from the

 Participants.   See Ex. 1 at 48–50, 52–53, 58.        Specifically, the Government adduced the

 following testimony to support its allegations against Lunde:

        PROSECUTOR:          And what did Marshall BankFirst communicate to the
        participant banks when this 2005 situation came to light in late 2007?

        THE WITNESS:           They sent a participant update in, I believe it was March or
        April or 2008. And it was – at that time there were issues with him not providing
        financials because part of the loan package was that he had to provide yearly
        audited financial statements within, I think it was 90 days of year end each year.
        And at that time they still only had 2005, that’s what the accounting firm was
        working on was the ’06 financial statements. And then obviously ’07 would have
        been coming due.

                So part of the participant update was to explain part of that situation, their
        not being in compliance with the loan agreement, not having updated audited
        financials. And this was, if I remember correctly, probably a five or six page
        participant update describing the situation, and somewhere in there it was
        mentioned that they might be recalled.

        PROSECUTOR:             Not that –

        THE WITNESS:            Not that they have been.

        PROSECUTOR:             Right.

        THE WITNESS:            Or not that they are but that they might be recalled.

 Id. at 52–53. Agent Bolte later revisited this subject:


                                                  5
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 6 of 28 PageID 1073



         PROSECUTOR:           And the - - we talked a little bit ago about a participant
         update memo that Stephanie Lunde sent out in March 2008 where she reported
         that Lake Austin’s 2005 financials quote, unquote may potentially be recalled?

         THE WITNESS:          Yes. That’s what we were discussing earlier.

         PROSECUTOR:           Later that month she then admitted to a fellow BankFirst
         employee that they had not notified the participant banks that the 2005 financial
         statements had actually been recalled; is that right?

         THE WITNESS:          Yes.

 Id. at 58.

         This testimony served as the basis for two of the few allegations against Lunde in the

 Indictment. First, the Indictment alleged that “On or about March 13, 2008, defendant Stephanie

 Lunde approved dissemination of a ‘Participant Update Memo’ to the participating financial

 institutions with the Lake Austin loan. This Participant Update Memo falsely reported that Lake

 Austin’s 2005 financials ‘may be potentially recalled.’” See Indict. at ¶ 46(x). The very next

 allegation asserted the following: “On or about March 25, 2008, defendant Stephanie Lunde

 communicated to a fellow BankFirst employee that they had not been notified participating

 financial institutions that Lake Austin’s accounting firm had ‘recalled’ the audited 2005 financial

 statements.” See Indict. at ¶ 46(y).

         Although the Government used a PowerPoint presentation to show the Grand Jurors the

 faces of the defendants, the transcript does not reflect that the Government showed the Grand

 Jurors either the March 25, 2008 Lunde email exchange or the Participant Update Memo.

 Instead, the Government elicited testimony from the Agent characterizing the content of those

 written communications. The Agent’s testimony regarding both allegations is objectively false

 and misleading.




                                                 6
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 7 of 28 PageID 1074



        The March 25, 2008 Lunde email exchange reflects something very different than the

 Government’s testimony. Lunde’s co-worker, Julie Nielsen, asked Lunde if “we have ever

 notified participants that they [sic] old [accounting] firm ‘recalled’ the audited 2005 statements?”

 See Ex. 2 at 001.3 Lunde responded, “Not that I remember.” Id. Based on a plain reading of

 the email, Lunde clearly did not “admit” that BankFirst had not notified the Participants about

 the recalled financials, as Agent Bolte testified. Rather, she said she did not remember them

 being informed.

        Moreover, the Agent’s testimony regarding this email exchange again omits critical and

 material details. The email exchange began with a question from Nielsen to Lunde asking why

 there was a need to re-issue the 2005 financial statements. In response to the question, Lunde

 asked another co-worker, Cecelia Boerenko, to provide Nielsen with the answer because Lunde

 was “unsure as to how answer this question.” Id. at 001–2. The full exchange reflects that

 Lunde did not have the relevant information, and contradicts the testimony and allegation that

 Lunde “admitted” to not informing the Participants about the 2005 financials. The Agent’s

 selective testimony and mischaracterization of Lunde’s email exchange reflects a blatant

 disregard for the actual contents of the email.4

        This mischaracterization is even more critical because, contrary to Agent Bolte’s

 testimony, the March 13, 2008 Participant Update Memo actually did inform the Participants

 that the 2005 financial statements had been “recalled”, not that they “might be recalled” as he



 3
   For all Exhibits that do not contain Grand Jury transcripts, the page numbers cited are the last
 three digits of the Bates numbers that appear in the lower right hand corner of the document.
 The Bates labeling has by added by counsel to the documents produced by the Government.
 4
  This March 25, 2008 email and its specific contents were well known to the investigators. The
 email was the exclusive subject of a second interview of Nielsen by Bolte’s co-agent,
 Jon Heydon, on April 15, 2015. Ex. 3.
                                                    7
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 8 of 28 PageID 1075



 testified. In that Memo, the Participants were provided a copy of the February 22, 2008 letter

 from Lake Austin that notified BankFirst that Lake Austin’s auditors “had proceeded to recall the

 2005 accounts.” Ex. 4 at 006 (noting that a copy of Lake Austin’s letter was available to the

 Participants on “Loan-Link,” the online document system used by BankFirst to provide

 information to the Participants); Ex. 5 (Lake Austin’s letter regarding the 2005 financials). The

 Participant Update Memo itself also informed the Participants that Lake Austin’s auditors had

 been terminated and that a new firm had been engaged for purposes of “reviewing and re-issuing

 audited financial statements for FY 2005, 2006, and 2007.” Ex. 4 005–6. The Memo further

 included a table that plainly indicated that Lake Austin was not in compliance with its financial

 reporting requirements for 2005, 2006, and 2007. Id. at 007.

        Indeed, although entirely omitted from the Agent’s testimony, not only were the

 Participants told about the financial statements, the Participant Update Memo required the

 Participants to vote on whether to allow Lake Austin until December 31, 2008 to produce re-

 issued financial statements. Id. at 009. The Participants subsequently agreed to give Lake

 Austin additional time to produce these financials and the Grande Palisades Loan Agreement

 was amended accordingly. Ex. 6 (containing the executed amendment to the Loan Agreement).

 That First Amendment specifically stated that Marshall had been informed that Lake Austin’s

 2005 financials were “incorrect” and “erroneous” and gave Lake Austin until December 31, 2008

 to submit new financials. Id. at 002. Far from concealing the 2005 financial statement recall,

 BankFirst notified the Participants and sought their guidance how to address the issue.

        Thus, Agent Bolte falsely testified that Lunde intentionally hid the recall of the 2005

 financial statements from the Participants and that Lunde admitted to hiding the issue. The

 critical nature of these particular allegations to the Government’s indictment of Ms. Lunde was


                                                 8
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 9 of 28 PageID 1076



 revealed by the Government on November 3, 2017 when, in response to this Court’s October 19,

 2017 order, it produced the Prosecutor’s response to the Grand Juror’s question as to why

 Ms. Lunde was guilty of a crime. In his response, which is addressed more fully below, the

 Prosecutor made the following statement regarding Agent Bolte’s testimony:

        You then have multiple times where stuff is coming to her about that and she’s
        still not revealing it to the participants, and then it gets compounded when the
        2005 financials get withdrawn in December of 2007. It takes her three months to
        let the participant banks know about that, and then she doesn’t event tell them the
        whole truth about it. And then later she admits that well, no, we haven’t told the
        participants the truth about it, . . .

 Ex. 7 at 77.

        This assertion reflects that the purported “hiding” of the 2005 financials is the

 Government’s best evidence of Lunde’s alleged knowing effort to conceal information from the

 Participants. It was critically important that the Government chose not to present the actual

 evidence to the Grand Jury, but instead relied on its own characterizations of that evidence.

 3.     The Government Misrepresented Marshall BankFirst’s Financial Exposure to Lake
        Austin and the Grande Palisades Loan.

        In a further effort to impart “motive” to Lunde and her employer, the Government

 repeatedly claimed that BankFirst and Marshall did not have financial exposure in the Grande

 Palisades Loan (i.e., they were not Participants) and structured that Loan to minimize their

 financial exposure to Lake Austin in general. Ex. 1 at 35, 41–42, 71. Take the following

 exchange:

        PROSECUTOR:          And when Marshall BankFirst participated this loan, how
        much exposure did they actually have on this 100 million-plus loan?

        THE WITNESS [Agent Bolte]:            They did not participate at all in the loan.

        PROSECUTOR:            Oh, so they weren’t facing any sort of exposure or risk if
        the loan failed?



                                                  9
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 10 of 28 PageID 1077



           THE WITNESS:           No. They only got the, I think it was a four and a half
           million dollar origination fee and servicing rights going forward, which would be
           monthly fees as well.

  Id. at 35.

           This testimony was important to the Grand Jury, and a Grand Juror later asked

  Agent Bolte why BankFirst “didn’t participant [sic]” in the Grande Palisades Loan. Id. at 71.

  Agent Bolte responded that “I can surmise but I can’t say specifically.” When the Grand Juror

  asked, “They knew it wasn’t on the up and up?” Bolte responded, “Right.” Id.

           In fact, the Government’s own evidence shows unequivocally that Marshall Bank, N.A.

  did participate in the Grande Palisades Loan.5 Initially, its exposure was one million dollars.

  Ex. 8 at 004.6 In the summer of 2008, when one Participant failed, Marshall Bank, N.A. even

  increased its exposure to more than $1.3 million to assist with covering the “gap” left by the

  failed bank. Ex. 9 at 013 (showing Marshall Bank, N.A.’s share of Columbian Bank’s position);

  Ex. 10 at 043 (Marshall Bank N.A.’s signature page agreeing to adopt a share of Columbian

  Bank’s position). Therefore, the Government’s suggestion that “Marshall BankFirst” was not

  facing “any sort of exposure or risk” if the Grande Palisades Loan failed is again objectively and

  demonstrably false based on the Government’s own evidence.7 See Ex. 1 at 35.

           In addition, the Government’s explicit implication to the Grand Jury that BankFirst’s lack

  of participation in the Grande Palisades Loan was evidence of fraudulent intent is entirely


  5
      Marshall Bank, N.A. and BankFirst were affiliated banks with common Marshall ownership.
  6
   Exhibit 8 does not have contiguous pagination because only pages relevant to Marshall Bank’s
  participation were included.
  7
    Marshall Bank, N.A.’s participation in the Grand Palisades Loan was not only readily available
  based on a review of Lunde’s email (which the Government purportedly did), it was known to
  the investigating agency, the FDIC, which later sold that interest to Beal Bank Nevada as the
  receiver for Marshall Bank, N.A. Ex. 11 at 002.
                                                   10
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 11 of 28 PageID 1078



  unsupported by the evidence (and amounts to improper conjecture). See id. at 71. A review of

  Lunde’s emails reveals that in early 2007, the Board of BankFirst decided to cease its loan

  participation business in response to regulator concerns. Ex. 12 at 003 (email dated Aug. 15,

  2007 attaching a letter from the President of Marshall).8 This decision was ratified in an

  agreement with the Federal Reserve.9

         The Government also told the Grand Jury that “Marshall BankFirst” structured the

  Grande Palisades Loan so that proceeds from that Loan would pay off another a related loan (the

  “Palisades Loan”) that BankFirst had with the same development company. Ex. 1 at 41–42.

  Specifically, the Government claimed that the Grande Palisades Loan “took care of any

  exposure that Marshall BankFirst had” in the Palisades Loan (which funded a prior development

  project to the Grand Palisades project). Id. at 42 (emphasis added). Again, the Government’s

  own evidence reveals that this too is false. In fact, BankFirst had approximately $1.4 million in

  participation exposure to the Palisades Loan and maintained an outstanding loan balance after

  the Grand Palisades Loan closed.10 Ex. 13 (showing BankFirst’s outstanding balance in the

  Palisades Loan as of Sept. 10, 2008).




  8
    Lunde’s email and the attached letter from the President of Marshall were produced as two
  separate documents by the Government, hence they bear two distinct Bates labels. However,
  both are contained within Exhibit 12. The page number cited is found in the lower right hand
  corner of the President’s letter.
  9
   The agreement between BankFirst and the Federal Reserve can be found at:
  https://www.federalreserve.gov/newsevents/pressreleases/files/enf20070808a1.pdf (last accessed
  on Nov. 9, 2017).
  10
     Again, the investigating agency, the FDIC, was aware of the BankFirst’s continued exposure
  in the Palisades Loan since as BankFirst’s receiver, it sold the balance of that Loan to Beal Bank
  Nevada. Ex. 14 (affidavit filed by Beal Bank in action to foreclose on Lake Austin attesting to
  acquisition of BankFirst’s interest in the Palisades Loan).
                                                 11
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 12 of 28 PageID 1079



         In an effort to establish fraudulent intent, the Government went to great lengths before

  the Grand Jury to provide testimony regarding Marshall BankFirst’s purported efforts to close

  the Grand Palisades Loan with no ongoing exposure to the developer/borrower. This testimony

  was false and misleading.

  4.     The Government Misled the Kansas Grand Jury to Believe that the Grande
         Palisades Loan Contributed to The Failure of a Kansas Participant.

         Early in the Grand Jury presentation, which occurred in the District of Kansas,

  Agent Bolte testified that one of the participating banks from Kansas, Columbian Bank & Trust,

  failed in August 2008. Ex. 1 at 19. Later, a Grand Juror asked whether Columbian Bank &

  Trust failed because of the Grande Palisades Loan or “other reasons.” Id. at 68. In response, the

  Prosecutor interjected with a series of questions. Agent Bolte confirmed that Columbian Bank &

  Trust was involved with a number of risky ventures wherein it lost money. See id. The

  Prosecutor then asked Bolte if it was “hard to know exactly which one of these [risky ventures]

  led to its failure . . . ?” Id. Bolte responded, “Correct. It’s a cumulative effect, I would say.”

         Columbian Bank failed as a financial institution in August of 2008 and went into FDIC

  receivership. Indict. at ¶ 19. The Government’s evidence reveals that the Grande Palisades Loan

  was performing at the time and received a “100% pass” rating from the Shared National Credit

  Exam (“SNC Exam”) in June 2008.11 Ex. 15 (June 20, 2008 Participant Memo notifying

  Participants about the results of the earlier SNC Exam); Ex. 16 at 002 (the SNC Exam).

         In addition, Agent Bolte personally interviewed one former employee of Columbian

  Bank on May 12, 2016. Ex. 17. That employee provided no information that substantiated




  11
     Shared National Credit Exams are conducted by the Federal Reserve, in conjunction with other
  regulatory bodies like the FDIC. See https://www.federalreserve.gov/supervisionreg/snc.htm
  (last visited on November 9, 2017).
                                                   12
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 13 of 28 PageID 1080



  Agent Bolte’s testimony before the Kansas Grand Jury that the Grand Palisades Loan contributed

  to the Kansas bank’s failure. See id.

         Agent Bolte’s testimony to the Kansas Grand Jury that the Grand Palisade Loan was part

  of the “cumulative effect” that contributed to the failure of Columbian Bank was false and

  without evidentiary support.

  5.     The Prosecutor Provided Improper Testimony and Erroneous Instructions of Law.

         At the end of Agent Bolte’s testimony, one Grand Juror explicitly stated that he/she was

  struggling with Lunde’s culpability.

         GRAND JUROR: I’m trying to figure out, Stephanie Lunde, if she would
         have just, if she would have told, you know, there’s something wrong with this
         loan, she would not be included in this indictment; is that correct? I guess I’m
         trying to figure out where she broke the law and at what point she went the other
         way.

         PROSECUTOR:              I can address that a little bit later.

  Ex. 1 at 72.

         Later in the transcript, the Prosecutor took up the inquiry.

         PROSECUTOR:            May Agent Bolte be excused then? Okay. Your question,
         since that’s more of a legal question and not facts or evidence, that’s why I’m
         happy to field that. So do you want to –

         GRAND JUROR: I’m just trying to figure out the legality, like where she
         [Lunde] went wrong and why she’s even included. I mean, is it mostly because
         she kind of hid the fact that this loan was bad?

         PROSECUTOR:          I think you could put it in that – that would be a
         straightforward way of doing it. You know, the things that – there’s –

  Ex. 1 at 75 (emphasis added).

         The Government initially did not produce a complete response to this inquiry and instead

  asserted “[t]here was no inappropriate argument” or “suggestion for unreasonable inferences.”




                                                     13
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 14 of 28 PageID 1081



  Doc. 166 at 4. In response to this Court’s October 19, 2017 Order, on November 3, 2017, the

  Government produced its 3-page response to that Grand Juror question:

         PROSECUTOR:            We’ve tried to really narrow the focus of this case to just
         some salient points, one of those having to do with the subordinated debt,
         marketing expenses, $30 million to get the equity. And through the evidence it
         appears certainly that Eric Johnson, Cecelia Boerenko and Stephanie Lunde were
         aware of that, and without that happening then this loan doesn’t get participated
         and it doesn’t go through.

                 It’s easy for Mr. Johnson to see what’s involved there because he gets a
         check for $400,000 that flows to him because of his work on this project and so
         you can understand that. We don’t have something similar for Ms. Lunde, so I
         certainly understand that question being there, but she’s working on the credit
         side and so – and we really didn’t get into this and we can have Agent Bolte give
         more explanation about this if you want, but part of how else Marshall Group
         brought money into the whole conglomerate, if you will, was by having these
         loans and they’re charging their fee for doing this participant.

                  So while they set it up and they send it out to all these banks, they then are
         skimming a little bit, not using that word in a bad way, but they’re skimming a
         little bit off for their work that they’re doing. And so there’s money that’s still
         coming into Marshall Bank for doing this, on top of the 4.5 million they got at the
         beginning for getting this going and so there’s why would someone in
         Ms. Lunde’s position do this? I think that’s a logical question to ask, and we
         don’t have a specific answer to give, but it’s clear that she knew that this debt,
         subordinated debt, was a cover up, that it was done so that this equity could –
         could be in existence for the funds to go through and so she didn’t reveal that.

                 You then have multiple times where stuff is coming to her about that and
         she’s still not revealing it to the participants, and then it gets compounded when
         the 2005 financials get withdrawn in December of 2007. It takes her three
         months to let the participant banks know about that, and then she doesn’t event
         tell them the whole truth about it. And then later she admits that well, no, we
         haven’t told the participants the truth about it, and it’s only – and Agent Bolte
         doesn’t go into this but it’s only later as things are headed towards foreclosure
         where some of these smaller banks are kind of out doing their own digging and
         realizing that there’s problems, that then leads to sort of a disruption or a
         rebellion among the, if we’re going to use the parlance of a recent movie of, you
         know, the rebellion of these participant banks coming out against the Empire, I
         shouldn’t use those terms but, you know, to do that about what’s going on here.

                 So it’s really, it’s, I think it’s multiple situations where she’s failing to
         report information, and it may very well be that she reported stuff up her chain of
         command and they chose not to act. We don’t know that at this point in time, but

                                                   14
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 15 of 28 PageID 1082



         what we do know is that these are things she didn’t reveal to the participant banks.
         There’s not e-mail traffic where she’s arguing to her superiors that this needs to
         be revealed and her superiors are sending e-mails back saying no, we’re not
         going to do that. We’re going to hide it. So at this point she’s kind of at the top
         of the ladder that we have to identify.

  Ex. 1 at 75; Ex. 7 at 76–78 (emphasis added).12

         As set forth above, the Prosecutor reiterated the demonstrably false and misleading

  testimony about subjects like Lunde’s purported admission that she concealed the recall of the

  2005 financial statements as a critical piece of evidence against Lunde.

         The Prosecutor also ignored black-letter law (and Department of Justice Grand Jury

  Practice prohibitions) by misstating Grand Jury testimony and testifying regarding purported

  evidence that was not before the Grand Jury in an effort to persuade the Grand Jury that Lunde

  was guilty of a bank fraud.

         First, the Prosecutor asserted:

         [W]e’ve tried to really narrow the focus of this case to just some salient points,
         one of those having to do with the subordinated debt, marketing expenses, $30
         million to get the equity. And through the evidence it appears certainly that Eric
         Johnson, Cecelia Boerenko and Stephanie Lunde were aware of that, and without
         that happening then this loan doesn’t get participated and it doesn’t go through.

  Ex. 7 at 76. The Prosecutor then repeated his claim:

          . . . it’s clear that she knew that this debt, subordinated debt, was a cover up, that
         it was done so that this equity could – could be in existence for the funds to go
         through and so she didn’t reveal that.




  12
     Lunde has sought a full transcript of all Grand Jury proceedings relating to the Indictment
  against her, including any comments or instructions of law by the Prosecutor. Doc. 146 at 8. In
  response, the Government has not produced any testimony before the Grand Jury other than what
  is attached as Exhibits 1 and 7. The Government does assert that the produced agent testimony
  was all of the evidence provided to the Grand Jury for its finding of probable cause. Doc. 166 at
  4.

                                                    15
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 16 of 28 PageID 1083



  Id. at 77. A review of the entire transcript reveals no support for this claim. There is no

  testimony and no evidence that supports the Prosecutor’s bald claim that Lunde knew the

  subordinated debt was a “cover up.”

         Second, although the Prosecutor even acknowledged that he had not adduced evidence

  regarding Marshall’s fees for the Grande Palisades Loan, he suggested that those fees somehow

  created a financial motive for Lunde to engage in a fraud. See id. at 76. Again, there is no basis

  for this claim or the implication that Lunde gained from the Grand Palisades Loan.

         Third, the Prosecutor testified regarding purported additional facts he admitted were not

  in evidence. Specifically, the Prosecutor made the following claims:

         Agent Bolte doesn’t go into this but it’s only later as things are headed towards
         foreclosure where some of these smaller banks are kind of out doing their own
         digging and realizing that there’s problems, that then leads to sort of a disruption
         or a rebellion among the, if we’re going to use the parlance of a recent movie of,
         you know, the rebellion of these participant banks coming out against the Empire,
         I shouldn’t use those terms but, you know, to do that about what’s going on here.

  Id. at 77–78 (emphasis added). Again, this is plainly improper testimony by the Prosecutor

  designed to inflame and persuade the Grand Jury that there is evidence showing how Lunde was

  guilty of a crime, despite the fact that no such “evidence” was presented to the Grand Jury.

         Fourth, the Prosecutor erroneously, and improperly, advised the Grand Jury that evidence

  that Lunde “hid” facts regarding the Grand Palisades Loan would be sufficient in itself to

  constitute a fraud. Ex. 1 at 75 (“I think you could put it in that – that would be a straightforward

  way of doing it.”). Key elements of bank fraud are that the defendant “knowingly” executed or

  attempted to carry out a scheme designed to defraud a financial institution, or obtain money or

  assets from a financial institution by means of false or fraudulent pretenses and that the

  defendant “intended to defraud”. 18 U.S.C. § 1344 (emphasis added); see also United States v.

  Williams, 390 F.3d 1319, 1324 (11th Cir. 2004) (holding that bank fraud requires proving that

                                                  16
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 17 of 28 PageID 1084



  “the defendant acted knowingly”); Eleventh Circuit Pattern Jury Instructions (Criminal Cases)

  2010. Here, based on the transcript produced by the Government in response to this Court’s

  Order, it appears that the Prosecutor failed to adequately address the intent requirement for

  committing a fraud and truncated the elements of the offense. To indict Lunde, there had to be

  evidence that Lunde knowingly and intentionally engaged in a scheme to defraud the Participants

  and that she intended to defraud the Participants. Even assuming that there was evidence that

  Lunde “hid the fact that this loan was bad”—no such evidence was presented to the Grand Jury,

  as described above—it was improper to instruct the Grand Jury that such evidence was

  sufficient.

  6.      The Government’s Misconduct Before the Grand Jury is Part of a Broader Pattern.

          The Government’s repeated misconduct before the Grand Jury is not an isolated incident,

  but instead is part of a broader pattern. First, the Government repeatedly misrepresented Lunde’s

  status within its investigation in an effort to get her to provide them with assistance and

  statements. See Docs. 140, 173. It then engaged in a pattern of misconduct before the Grand

  Jury in order to secure an Indictment against Lunde, as set forth above. Although Lunde had

  fully and repeatedly cooperated with the Government’s investigation (including hiking out of the

  Grand Canyon from a family vacation to assist the investigator), the Government chose not to

  notify her or her counsel that she was indicted. Even after co-Defendants appeared in the case in

  February and March 2017, the Government still chose not to inform her of the charges. Lunde

  only learned of the Indictment in May 2017 through rumors that her counsel had to substantiate

  by calling the Prosecutor. The Government has never explained this delay.

          Even after Lunde appeared voluntarily to answer the charges in May 2017, the

  Government violated two Court orders by withholding discovery from Lunde for months,

  including her own interview statements and the Grand Jury transcript. See Doc. 128. The
                                                 17
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 18 of 28 PageID 1085



  Government’s only response for this delay was to suggest it could provide the Court with

  reasons, such as other responsibilities and technical issues. Doc. 147 at 4. Yet, it is now

  apparent that the Government provided counsel for co-Defendant Johnson with extensive

  discovery in March 2017. See Doc. 181.

                                           ARGUMENT

         In order to prosecute a federal defendant charged with a felony, the Fifth Amendment to

  the United States Constitution requires an indictment by a grand jury. U.S. Const. amend. V; see

  also Fed. R. Crim. P. 7. The Fifth Amendment grand jury right is intended to serve “a vital

  function . . . as a check on prosecutorial power.” United States v. Cotton, 535 U.S. 625, 634

  (2002). The grand jury’s historical purpose includes “both the determination whether there is

  probable cause to believe a crime has been committed and the protections of citizens against

  unfounded criminal prosecutions.” United States v. Calandra, 414 U.S. 338, 343 (1974). Thus,

  the grand jury’s function is “meant to be an independent check on the ability of the government

  to bring criminal charges against individuals.” In re U.S., 441 F.3d 44, 57 (1st Cir. 2006); see

  also United States v. Suarez, 263 F.3d 468, 481 (6th Cir. 2001) (noting that the grand jury is a

  “defendant’s main protection against the bringing of unfounded charges”). Indeed, it “functions

  as a shield, standing between the accuser and the accused, protecting the individual citizen

  against oppressive and unfounded government prosecution.” Calandra, 414 U.S. at 342–43; see

  also Wood v. Georgia, 370 U.S. 375, 390 (1962) (“Historically, this body has been regarded as a

  primary security to the innocent against hasty, malicious and oppressive persecution . . . [and]

  stand[s] between the accuser and the accused.”); Hale v. Henkel, 201 U.S. 43, 59 (1906) (relating

  that the function of the grand jury “was not only to examine into the commission of crimes, but




                                                 18
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 19 of 28 PageID 1086



  to stand between the prosecutor and the accused, and to determine whether the charge was

  founded upon credible testimony or was dictated by malice or ill will”).

         District courts may dismiss an indictment for prosecutorial misconduct before a grand

  jury where that misconduct prejudices the defendant. United States v. Accetturo, 858 F.2d 679,

  681 (11th Cir. 1988); United States v. Pendleton, 447 F. App’x 978, 980 (11th Cir. 2011) (“If

  prosecutorial misconduct occurs in the context of a grand jury proceeding, the proper remedy is

  to dismiss the indictment.”). Admittedly, dismissal is an “extreme” sanction that should be

  “infrequently utilized.” Accetturo, 858 F.2d at 681. However, where prosecutorial errors and

  misconduct “‘substantially influenced’ the grand jury’s decision to issue charges, or if grave

  doubt existed that the decision was free from such influence[,]” dismissal is warranted. See

  Pendleton, 447 F. App’x at 981 (quoting Bank of Nova Scotia v. United States, 487 U.S. 250,

  263 (1988)). “The cumulative effect of the many instances of misconduct can fairly be said to

  have substantially influenced the grand jury’s decision to indict.” United States v. Breslin, 916

  F. Supp. 438, 446 (E.D. Pa. 1996) (quotations omitted).

         Here, the Government usurped the Grand Jury’s independence and improperly influenced

  its decision to indict in at least three ways.       First, the Government repeatedly presented

  demonstrably false and misleading testimony while simultaneously failing to present

  considerable exculpatory evidence. Second, the Government put forward false and misleading

  testimony designed to inflame the Grand Jury’s passions. Third, the Prosecutor improperly

  testified before the Grand Jury and provided them with erroneous legal instructions regarding

  what constitutes bank fraud. Moreover, the Government’s misconduct was not limited to the

  Grand Jury proceedings, but rather has been endemic throughout this case. The cumulative

  effect of this misconduct influenced the Grand Jury’s decision to indict, substantially prejudicing


                                                  19
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 20 of 28 PageID 1087



  Lunde in the process, and amounts to a violation of the Fifth Amendment’s grand jury and due

  process guarantees.

  Use of False and Misleading Testimony

         A grand jury cannot serve as a constitutionally mandated check on government over-

  reach if it is misled by the government. See Bank of Nova Scotia, 487 U.S. at 259 (holding that

  an infringement on the grand jury’s independence “may result in grave doubt as to a violation’s

  effect on the grand jury’s decision to indict”). “A prosecutor may not mislead the grand jury or

  engage in fundamentally unfair tactics. Thus, a prosecutor may not employ testimony known to

  be perjurious, or withhold substantial evidence negating guilt.” United States v. Greer, 178

  F.R.D. 418, 428–29 (D. Vt. 1998). “[A] prosecutor may not deliberately mislead a grand jury or

  instill false impressions to it in an effort to obtain an indictment.” United States v. Red Elk, 955

  F. Supp. 1170, 1182 (D.S.D. 1997).

         The Government’s pattern of repeated false and unsubstantiated testimony before the

  Grand Jury substantially prejudiced Lunde by significantly influencing the Grand Jury’s decision

  to indict. Notably, some of the most egregious instances of misconduct came in relation to

  Grand Jurors’ questions that showed they were struggling to understand whether Lunde did

  anything wrong. See Ex. 1 at 51, 68–69. When asked by a Grand Juror whether Lunde received

  “any direct commission payment or bonus,” Agent Bolte gave a false and misleading answer that

  implied Lunde received a commission on the Grande Palisades Loan, like co-Defendant Johnson

  albeit less than Johnson. This false and misleading testimony goes to the heart of whether Lunde

  had any motive to intentionally commit a fraud. In response to the Motion to Compel Production

  of the Grand Jury Transcript, the Government offered no evidence that Lunde received a “direct

  commission payment or bonus” related to the Grande Palisades Loan. It is important that the


                                                  20
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 21 of 28 PageID 1088



  Government has not argued that Agent Bolte mistakenly erred in his recollection of the evidence.

  Instead, the Government contends that the testimony was intentional and proper. Yet, the

  testimony is objectively misleading and omitted a material fact from the Grand Jury’s

  deliberative process. This itself raises grave doubts about whether the Grand Jury’s charging

  decision was uninfluenced by the Government’s misrepresentations. See Bank of Nova Scotia,

  487 U.S. at 259.

         The false testimony did not end there. For instance, in an attempt to show Lunde’s

  efforts at “hiding” material information from the Participants, the Government claimed that

  Lunde told Nielsen that the Participants were not informed about Lake Austin’s “recalled” 2005

  financials. Yet, the actual email exchange belies the Government’s claims and reflects Lunde

  acknowledging that she was not aware of the details of the recall or whether the information had

  been disclosed. Second, the Participants were in fact informed and they voted to give Lake

  Austin until the end of 2008 to provide new audited financials.

         Similarly, in an effort to impart “motive” for the alleged fraud to BankFirst, the

  Government claimed that “Marshall BankFirst” did not have any exposure in the Grande

  Palisades Loan and in fact used that loan to “eliminate” its exposure to Lake Austin in the

  separate Palisades Loan.    Yet, the Government’s own evidence revealed that the Marshall

  affiliate, Marshall Bank, N.A. was a Participant in the Grande Palisades Loan and even increased

  its participation in 2008. And, BankFirst had ongoing exposure in the Palisades Loan even after

  the Grande Palisades Loan closed. Indeed, those exposures to Lake Austin were readily apparent

  from the Government’s evidence and were known to at least one of the investigating agencies,

  the FDIC, which sold the participations after taking over each of the banks.




                                                 21
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 22 of 28 PageID 1089



            In light of the Grand Jury’s questions and the pervasive and repeated false testimony it

  received in response, the record before this Court leaves no doubt that the Indictment was a

  direct product of this false testimony. The willful and wonton disregard of the actual contents of

  the Government’s evidence, including the documents the Government cites to, reflects a pattern

  of disregard for the truth. As such, the proper remedy is dismissal. See Pendleton, 447 F. App’x

  at 981.

  Improper and Misleading Attempts to Inflame the Grand Jury’s Passions

            “Courts have also held that a prosecutor may not make statements or argue in a manner

  calculated to inflame the grand jury unfairly against an accused.” United States v. Hogan, 712

  F.2d 757, 759 (2d Cir. 1983); see United States v. Gold, 470 F. Supp. 1336, 1346 (N.D. Ill. 1979)

  (holding that the government “cannot inflame or otherwise improperly influence grand jurors

  against any person”). Here, in a transparent effort in improperly inflame the passions of the

  Kansas Grand Jury, Agent Bolte implied that the failure of Columbian Bank & Trust (a local,

  Kansas bank) was due in part to the Grand Palisades Loan. There is no evidence that the Grande

  Palisades Loan was part of the “cumulative effect” that led to Columbian Bank & Trust’s

  closure. Indeed, the available evidence contradicts this claim.

  Improper Prosecutorial Testimony

            In addition to the false and misleading testimony by the Agent, the recent production of

  three additional pages of the transcript reveals that the Prosecutor committed his own misconduct

  before the Grand Jury by improperly: (i) testifying regarding purported evidence not presented to

  the Grand Jury, (ii) characterizing the evidence in a manner that was not supported by the actual

  testimony before the Grand Jury, and (iii) instructing the Grand Jury regarding what constitutes

  bank fraud.


                                                   22
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 23 of 28 PageID 1090



         A prosecutor cannot act as a witness before a grand jury, testifying to facts not in

  evidence or otherwise influencing the grand jury’s independent review of the evidence. See

  United States v. Wiseman, 172 F.3d 1196, 1205–06 (10th Cir. 1999) abrogated on other grounds

  by Rosemond v. United States, 134 S. Ct. 1240 (2014); United States v. Ogden, 703 F.2d 629,

  637 (1st Cir. 1983). In order for a grand jury’s investigation to be independent, it must be free

  from the outside influences, including the influence of the prosecutor. See United States v.

  Williams, 504 U.S. 36, 49 (1992) (“[T]he Fifth Amendment’s constitutional guarantee

  presupposes [a grand jury] acting independently of either prosecuting attorney or judge.”

  (citations omitted) (emphasis original)); United States v. Al Mudarris, 695 F.2d 1182, 1185

  (9th Cir. 1983) (“Prosecutors share with courts the duty not to interfere with the grand jury’s

  function.”). A prosecutor testifying to facts not in evidence, or otherwise attempting to influence

  the decision whether or not to indict, may adversely affect a grand jury’s independence. See

  Wiseman, 172 F.3d at 1205; United States v. Sigma Int’l, Inc., 244 F.3d 841, 869–74 (11th

  Cir. 2001), reh’g en banc granted, opinion vacated, 287 F.3d 1325 (11th Cir. 2002).13

         At the beginning of grand jury proceedings, a prosecutor might “indicate” what kind of

  evidence a grand jury will hear without improperly influencing the grand jury’s independence, so

  long as such evidence is later presented by a witness other than the prosecutor. See Wiseman,

  172 F.3d at 1204–05 (noting that a prosecutor may not testify to a grand jury, but finding that the

  prosecutor in that case did not act improperly when he initially told a grand jury that a robbery

  13
     The Eleventh Circuit agreed to re-hear the Sigma case en banc, vacating the prior panel
  opinion in the process. United States v. Sigma Int’l, Inc., 287 F.3d 1325 (11th Cir. 2002).
  Before the en banc hearing was held, the parties entered into a plea agreement, mooting the
  appeal, and causing the Eleventh Circuit to vacate the opinion. United States v. Sigma Int'l, Inc.,
  291 F.3d 765, 766 (11th Cir. 2002). However, the original Sigma panel decision, 244 F.3d 841,
  is still cited favorably in treatises. See, e.g., Federal Grand Jury: A Guide to Law and Practice,
  § 21:20. Other improprieties: prosecutor testified or expressed own opinion, 2 Fed. Grand Jury §
  21:20 (2d ed.).
                                                  23
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 24 of 28 PageID 1091



  affected interstate commerce when the investigating agents later testified about the interstate

  nature of the business that was robbed). However, a prosecutor may not: (1) invite the grand

  jury to indict based merely on the prosecutor’s assurances that there is evidence to support the

  charges, (2) invite an indictment based primarily on the prosecutor’s “summary” of evidence

  without that evidence actually being presented, or (3) suggest that the defendant committed other

  crimes or engaged in other “bad behavior” not charged in the proposed indictment. See Sigma

  Int’l, 244 F.3d at 872–74. Informal, unsworn testimony by a prosecutor “is generally disfavored

  because it has a tendency to unduly influence the grand jury.” Id. at 872 (citation omitted). “An

  AUSA testifying informally and unsworn to a grand jury therefore has the potential of

  overbearing the grand jury.” Id. (noting that this practice is also prohibited by various rules of

  professional conduct).

         As detailed above, in his attempt to answer a Grand Juror’s question regarding how

  Lunde was culpable, the Prosecutor improperly mischaracterized the evidence before the Grand

  Jury, repeated false testimony, assured the Grand Jury there was additional evidence that had not

  been presented that revealed Lunde’s alleged criminal conduct, and mis-instructed the Grand

  Jury to suggest that Lunde’s purported “hiding” of facts from the Participants was sufficient to

  constitute bank fraud without informing the Grand Jury that it needed to find sufficient evidence

  to prove that Lunde knowingly participated in a scheme, that she intended to defraud the

  financial institutions, and that the information she “hid” was material.        This plainly and

  egregiously improper conduct occurred when the Grand Jury was struggling to understand how

  the evidence presented substantiated the allegation of bank fraud against Lunde.

         Thus, the Government’s improper conduct before the Grand Jury was so substantial and

  pervasive that there can be no doubt that the independent function of the Grand Jury was


                                                 24
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 25 of 28 PageID 1092



  impaired and the Indictment against Lunde was the direct product of this misconduct. This

  constitutes actual, substantial prejudice and warrants dismissal of the charges against Lunde. See

  Greer, 178 F.R.D. at 428–29; Red Elk, 955 F. Supp. at 1182.

  The Government’s Pattern of Misconduct

         Finally, the Government’s misconduct before the Grand Jury is fairly considered in the

  context of its conduct throughout the investigation and these proceedings. The Government’s

  misconduct has not been limited to just the Grand Jury proceeding.          At the outset of its

  investigation, the Government targeted Lunde as a “potential target.”          Nevertheless, the

  Government concealed this fact from Lunde and her counsel and induced Lunde to give four

  interviews over three years by repeatedly representing to Lunde and her counsel that Lunde was

  not a “subject” or “target,” but merely a “witness” who could help “fill in the gaps” of the

  investigation. Despite these numerous representations, it is now clear that the Government was

  plainly investigating Lunde’s conduct by at least May of 2013 if not from the outset (in

  accordance with its designation as a “potential target”).

         After indicting Lunde in December 2016, the Government then ignored Lunde’s speedy

  trial rights and never informed Lunde or her counsel regarding the charges.          Instead, the

  Government contacted co-Defendant Eric Johnson and in March 2017 provided him with

  substantial discovery, presumably in an effort to obtain his cooperation. Even after Lunde finally

  learned of the Indictment and voluntarily appeared in May 2017, the Government failed to

  produce Rule 16 discovery for months, violating her Speedy Trial rights and two separate Court

  scheduling orders.

         The cumulative effect of the Government’s misconduct before the Grand Jury alone

  warrants dismissing the charges against Lunde. See Breslin, 916 F. Supp. at 446. When this


                                                   25
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 26 of 28 PageID 1093



  misconduct is considered in light of the Government’s pattern of misconduct throughout the

  investigation and prosecution of this case, it evidences the sort of outrageous prosecutorial

  misconduct that justifies dismissal. See United States v. Haile, 685 F.3d 1211, 1221 (11th Cir.

  2012) (“A court may remedy outrageous government conduct by dismissing an indictment . . .

  .”).

         Any of this conduct taken alone is deeply troubling, but when considered in totality, it

  reflects a wonton disregard for Due Process as required by the Constitution and concepts of

  fundamental fairness. Therefore, Defendant Lunde respectfully requests that this Court grant her

  Motion and dismiss the charges against her.


                           CERTIFICATION OF CONSULTATION

         Pursuant to the Local Rules of the Middle District of Florida, on November 10, 2017,

  counsel consulted with United States Special Attorney Scott Rask and provided him a copy of

  the Motion and exhibits prior to filing. Mr. Rask indicates that the Government opposes this

  motion.

  Date: November 27, 2017                            Respectfully Submitted:

                                                     /s/ Joseph T. Dixon, III
                                                     Joseph T. Dixon, III
                                                     Minnesota Bar No. 0283903
                                                     Alexander D. Chiquoine
                                                     Minnesota Bar No. 0396420
                                                     FREDRIKSON & BYRON, P.A.
                                                     200 South Sixth Street, Suite 4000
                                                     Minneapolis, MN 55402-1425
                                                     Telephone: 612.492.7000
                                                     Facsimile: 612.492.7077
                                                     Admitted Pro Hac Vice

                                                             -and-




                                                26
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 27 of 28 PageID 1094



                                            /s/ Fritz Scheller
                                            FRITZ J. SCHELLER
                                            Florida Bar Number 183113
                                            Fritz Scheller, P.L.
                                            200 East Robinson St., Suite 1150
                                            Orlando, Florida 32801
                                            Telephone: 407-792-1285
                                            Facsimile: 407-513-4146
                                            Email: fscheller@flusalaw.com




                                       27
Case 6:17-cr-00187-RBD-TBS Document 195 Filed 11/27/17 Page 28 of 28 PageID 1095



                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that, on November 27, 2017, I electronically filed the foregoing

  with the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic

  filing to all counsel of record.


                                                    /s/ Joseph T. Dixon, III
                                                    Joseph T. Dixon, III
                                                    Minnesota Bar No. 0283903
                                                    Alexander D. Chiquoine
                                                    Minnesota Bar No. 0396420
                                                    FREDRIKSON & BYRON, P.A.
                                                    200 South Sixth Street, Suite 4000
                                                    Minneapolis, MN 55402-1425
                                                    Telephone: 612.492.7000
                                                    Facsimile: 612.492.7077
                                                    Admitted Pro Hac Vice




                                               28
